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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-00149-TLN
11
                                  Plaintiff,             STIPULATION TO CONTINUE STATUS
12                                                       CONFERENCE AND EXCLUDE TIME PERIODS
                            v.                           UNDER SPEEDY TRIAL ACT; FINDINGS AND
13                                                       ORDER
     RIGOBERTO NUNEZ;
14   OSCAR ANDRADE; AND                                  DATE: December 11, 2019
     OSCAR RODRIGUEZ,                                    TIME: 9:30 a.m.
15                                                       COURT: Hon. Troy L. Nunley
                                  Defendants.
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17
                                                 STIPULATION
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            1.      By previous order, this matter was set for status on December 11, 2019.
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            2.      By this stipulation, the United States and defendant Rigoberto Nunez, through his
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     counsel, Preciliano Martinez, and counsel for Oscar Rodriguez, David Fischer, move to continue the
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     status conference until February 20, 2020, at 9:30 a.m., and to exclude time between December 11, 2019
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     and February 20, 2020, under Local Code T4, for Mr. Nunez, and under Local Code M, for Mr.
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     Rodriguez.
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            3.      Defendant Oscar Andrade does not join in this stipulation.
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            4.      The parties agree and stipulate, and request that the Court find the following:
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                    a)     Counsel for defendants desire additional time to continue to conduct
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            investigation, and to otherwise prepare for trial. The government has represented that it has
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            produced discovery in the form of investigative reports, photographs, and audio files, which the

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 1        defendants need time to review, discuss with their counsel, and pursue investigation. The

 2        government has also represented that it has made available to defense counsel additional

 3        electronic surveillance discovery, which the defendants will also need time to review.

 4               b)      Counsel for defendants believe that failure to grant the above-requested

 5        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 6        into account the exercise of due diligence.

 7               c)      The government does not oppose this request.

 8               d)      At present, the whereabouts of Mr. Rodriguez are unknown, and he is therefore

 9        unavailable.

10               e)      Based on the above-stated findings, the ends of justice served by continuing the

11        case as requested outweigh the interest of the public and the defendants in a trial within the

12        original date prescribed by the Speedy Trial Act.

13               f)      With regard to Mr. Nunez, for the purpose of computing time under the Speedy

14        Trial Act, 18 U.S.C. § 3161, et seq., within which trial must commence, the time period of

15        December 11, 2019 to February 20, 2020, inclusive, is deemed excludable pursuant to 18

16        U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by

17        the Court at defendants’ request on the basis of the Court’s finding that the ends of justice served

18        by taking such action outweigh the best interest of the public and the defendant in a speedy trial.

19               g)      With regard to Mr. Rodriguez, for the purpose of computing time under the

20        Speedy Trial Act, 18 U.S.C. §3161, et seq., within which trial must commence, the time period

21        of December 11, 2019 to February 20, 2020, inclusive, is deemed excludable pursuant to 18

22        U.S.C. §3161 (h)(3)(A) & (B) [Local Code M]: unavailability of a defendant.

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                 Case 2:17-cr-00149-TLN Document 78 Filed 12/10/19 Page 3 of 4


 1          5.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

 5   Dated: December 9, 2019                                  MCGREGOR W. SCOTT
                                                              United States Attorney
 6
                                                              /s/ JAMES R. CONOLLY
 7                                                            JAMES R. CONOLLY
                                                              Assistant United States Attorney
 8

 9   Dated: December 9, 2019                                  /s/ Preciliano Martinez
                                                              PRECILIANO MARTINEZ
10                                                            Counsel for Defendant
                                                              Rigoberto Nunez
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     Dated: December 9, 2019                                  /s/ David Fischer
12                                                            DAVID FISCHER
13                                                            Counsel for Defendant
                                                              Oscar Rodriguez
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 1                                          FINDINGS AND ORDER

 2          IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’

 3 stipulation, and good cause appearing therefore, adopts the parties’ stipulation in its entirety as its order.

 4 The Court specifically finds the failure to grant a continuance in this case would deny counsel

 5 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.

 6 The Court finds the ends of justice are served by granting the requested continuance and outweigh the

 7 best interests of the public and defendant in a speedy trial. The Court also finds that the whereabouts of

 8 Oscar Rodriguez remain unknown, and he is therefore unavailable.

 9          The Court orders the time from the date the parties stipulated, up to and including February 20,

10 2020, shall be excluded from computation of time within which the trial of this case must be

11 commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) (Local Code

12 T4), with respect to Rigoberto Nunez, and pursuant to 18 U.S.C. §3161 (h)(3)(A) & (B) [Local Code

13 M], with respect to Oscar Rodriguez. It is further ordered that the December 11, 2019 status conference

14 shall be continued until February 20, 2020, at 9:30 a.m.

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16          IT IS SO FOUND AND ORDERED this 10th day of December, 2019.

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20                                                                 Troy L. Nunley
                                                                   United States District Judge
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      STIPULATION TO CONTINUE STATUS AND EXCLUDE          4
      TIME; FINDINGS AND ORDER
